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                        UNITED STATES       DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


LILIAN PAHOLA CALDERON JIMENEZ
AND LUIS GORDILLO,      ET AL.,
individually and on behalf of all
others similarly situated,

     Petitioner-Plaintiffs,

           V.                                           C.A.   No.   18-10225-MLW


KIRSTJEN M.     NIELSEN,      ET AL.,

     Respondent-Defendants.


                                          ORDER


    WOLF, D.J.                                                       October 11, 2018

     For the reasons stated in court on October 9, 2018 and in the

lobby conference that followed it, it is hereby ORDERED that:

     1.    The parties shall confer and, by October 15, 2018 at

12:00 noon,      jointly if possible,             but   separately if necessary,

report on the following issues, and for those issues on which they

do not agree, propose a schedule for all briefing, including any

replies and sur-replies, to be completed by November 20, 2018:

     (a)   Whether they have reached an agreement to resolve or

           stay this case.

     (b)   If not, what conduct petitioners allege Immigration and

           Customs Enforcement ("ICE") is performing or failing to

           perform that affects a whole class of persons. See Fed.

           R.    Civ.   P.    23(b)(2).
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     (c)   Whether     the   respondents          contend that          the    court      lacks

           jurisdiction         to    decide      the    issue(s)       raised       by     such

           conduct pursuant to 8 U.S.C. §1252(f)(1).

     (d)   If   the     court    has       jurisdiction         concerning          any     such

           issue(s),     whether          discovery     is     required       because       "the

           facts      relevant       to    any    of    the    [class]        certification

           requirements         are       disputed"      or     "the     opposing         party

           contends      that        proof       of     the     claims        or    defenses

           unavoidably raises individual issues." See Manual for

           Complex       Litigation,             Fourth,       §21.14;         William        B.

           Rubenstein, 3 Newberg on Class Actions §7:15 (5th ed.).

     (e)   If the court has jurisdiction and petitioners'                                 claims

           are eligible for class certification under Federal Rule

           of   Civil    Procedure          23(b)(2),         whether    any       additional

           discovery      should be          conducted before            the motion          for

           class certification is decided,                     with a    description of

           any such discovery.

     (f)   Whether petitioners now request discovery concerning the

           merits of their individual claims.

     2.    A hearing on any pending motion(s) will begin on December

6, 2018, and continue on December 7, 2018 if necessary.

     3.    Respondents' request in the October 3, 2018 Joint Report

(Docket No. 162 at 5-6) to file, by October 16, 2018, an answer to

petitioners' Amended Complaint (Docket No. 27) is ALLOWED.
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     4.   As   agreed   by   the   parties,   petitioners'   Motion    for

Temporary Restraining    Order     and   Preliminary   Injunctive   Relief

(Docket No. 49) is STAYED until January 11, 2019. The parties shall

confer and report, by December 20, 2018, whether they request an

extension of the stay or whether it should be lifted.

     5.   Respondents need not       respond to the October 5,        2018

requests for discovery. The parties shall not serve any additional

requests for discovery unless a motion to do so is allowed.

     6.   The parties shall order the transcript of the October 9,

2018 hearing and lobby conference on an expedited basis.




                                         UNITED STATES DISTRICT JUDGE
